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 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATE OF AMERICA             )    01: 04-CR-5244 OWW
                                         )
11                   Plaintiff,          )
                                         )    ORDER ON DEFENDANT’S
12        v.                             )    COMPETENCY TO STAND TRIAL
                                         )
13   CLAUDE ARTHUR STROHL,               )
                                         )
14                                       )
                     Defendant.          )
15                                       )
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          This   matter   came   for   this   court   on   April   30,   2007,   on
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     defendant, Claude Arthur Strohl’s, competency to stand trial.
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     Having reviewed the evidence in support of the defendant’s request,
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     specifically the report of Dr. Howard B. Terrell dated April 19,
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     2007, and having heard the argument of counsel, the Court finds
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     that a report by a medical expert must be done prior to the hearing
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     to determine whether the defendant is presently suffering from a
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     mental disease and defect rendering him mentally incompetent to the
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     extent that he is unable to assist properly in his defense.
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          Accordingly,
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          IT IS HEREBY ORDERED that the defendant is here by committed
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     to the custody of the Attorney General pursuant to 18 U.S.C. §§
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 1   4241(b) and 4247(b) and (c) for a reasonable period of time, not to
 2   exceed 120 days,       in order to conduct an examination of the
 3   defendant to determine whether he is presently suffering from a
 4   mental disease and defect rendering him mentally incompetent to the
 5   extent that he is unable to assist properly in his defense.
 6        Defendant Claude Arthur Strohl shall surrender to the United
 7   States Marshal before 2:00 p.m. on May 31, 2007 for surrender to
 8   the Attorney General of the United States for purposes of the
 9   examination.
10        IT IS FURTHER ORDERED that a status conference is ordered set
11   for July 9, 2007 at 9:00 a.m. for co-defendant Stephen Earl Prout,
12   and for defendant Claude Arthur Strohl, if he is returns from the
13   facility by that time.
14        Time is excluded under the Speedy Trial Act from the date of
15   the hearing until July 9, 2007, pursuant to 18 U.S.C. § 3161(h)(4)
16   and thereafter if the period of commitment to the Attorney General
17   is extended.
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     IT IS SO ORDERED.
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     Dated: May 17, 2007                    /s/ Oliver W. Wanger
21   emm0d6                            UNITED STATES DISTRICT JUDGE
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